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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA

v.                                           Case Number: 4:22−cr−00033

Shyanne Edrington




                               NOTICE OF SETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.




Before the Honorable
Keith P Ellison
PLACE:
Courtroom 3A Houston
United States District Court
515 Rusk Avenue
Houston, Texas 77002
DATE: 11/1/2022
TIME: 10:30 AM

TYPE OF PROCEEDING: Re−Arraignment Hearing


Date: October 7, 2022
                                                         Nathan Ochsner, Clerk
